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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

___________________________________
LISA KWESELL; CHRISTINE               :
TURECEK; AND JASON SCHWARTZ, :
individually and on behalf all others :                      CIVIL ACTION NO. :
similarly situated,                   :
                                      :                      3:19-cv-1098 (     )
               Plaintiffs,            :
                                      :                      CLASS ACTION
v.                                    :
                                      :
YALE UNIVERSITY,                      :
                                      :
               Defendant.             :                      July 16, 2019
___________________________________

                                          COMPLAINT

                                       INTRODUCTION

       1.       This is a class action brought on behalf of all current and former employees of

Yale University (“Yale”) who are or were required to participate in Yale’s Health Expectation

Program (“HEP” or the “Program”) or pay a fine adding up to $1,300 annually (the “Class”)

between January 1, 2017 and present (the “Class Period”).

       2.       Yale’s HEP is an employee wellness program. In recent years, the market for

employee wellness programs has exploded, with the industry valued at approximately $8 billion.

Wellness programs are now commonplace, especially among large employers.

       3.       The rapid expansion in employee wellness programs has come at a price for

employees, however, with a contingent of employers imposing financial penalties on employees

who do not participate in these programs, despite growing evidence that imposing penalties does
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not improve programs’ effectiveness.1 In some cases, the financial penalties can be steep.

According to the Kaiser Family Foundation 2018 Employee Benefits Survey, nearly 5% of large

employers impose fines for non-participation that exceed $1,000 per year.

        4.       Yale falls within the 5% of employers with an unusually punitive program. Thus,

its penalty for non-participation in the Program is among the highest in the country among large

employers, coming in at $25 per week, or $1,300 per year. In New Haven, Connecticut, where

Yale is located, $1,300 is equivalent to nearly five and half weeks’ worth of food, four months of

utility costs, nearly a months’ worth of housing, or a month’s worth of childcare. More broadly,

in the United States as a whole, nearly half of Americans cannot afford an unexpected $400

expense, let alone a $1,300 pay cut.2

        5.       Yale’s $1,300 fine, which Yale deducts directly from employees’ paychecks in

$25 weekly increments, places Yale employees who are subject to the HEP in an untenable

position: either divulge protected information (including prior insurance claims data) and submit

to invasive medical examinations and testing, or forfeit a substantial portion of their salary to

keep their personal medical and genetic information private.

        6.       Yale’s $1,300 fine not only slashes employees’ expected income; it violates their

civil rights. The Americans with Disabilities Act (“ADA”) and the Genetic Information

Nondiscrimination Act (“GINA”) prohibit employers from extracting medical or genetic

information from employees unless that information is provided voluntarily.




1
  See, e.g., How Well Do Workplace Wellness Programs Work?, Julie Appleby, National Public Radio (April 16,
2019) (https://www.npr.org/sections/health-shots/2019/04/16/713902890/how-well-do-workplace-wellness-
programs-work).
2
  Jeanna Smialek, Many Adults Would Struggle to Find $400, the Fed Finds, The New York Times (2019),
https://www.nytimes.com/2019/05/23/business/economy/fed-400-dollar-survey.html.

                                                      2
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        7.       Many Yale employees subject to the HEP, however, feel that the program creates

anything but a free choice. Jason Schwartz, a member of Local 35 UNITE HERE (“Local 35”),

one of the unions at Yale that is subject to the HEP, contends that Yale is “forcing” union

members to do “something they don’t want to do” and “financially penalizing them if [they]

don’t do it.” Ralph Marguy, another member of Local 35, explains that he would prefer not to

participate but “can’t throw away $25 [per week] to keep [his] information private.”

        8.       Statements from those subject to the HEP illustrate the serious impact of the

involuntary examinations and medical and genetic inquiries Yale’s Program imposes on

employees. The weekly penalty imposed by Yale has a coercive effect on its employees, forcing

them to either pay a fine to protect their civil rights or participate in a wellness program against

their will. That is a violation of the ADA and GINA.

                                  JURISDICTION AND VENUE

        9.       Because Plaintiffs bring this case under the ADA, 42 U.S.C. §§ 12101 et seq., and

GINA, Pub. L. No. 110-233, 122 Stat. 881, this Court has federal question jurisdiction pursuant

to 28 U.S.C. § 1331.

        10.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(e)(1) because Yale

is located in this District and the events giving rise to the claim occurred in this District.

                                              PARTIES

        11.      Named Plaintiff Lisa Kwesell is a member of Local 34 UNITE HERE (“Local

34”). She is a 56-year-old part-time service assistant at Yale. She makes approximately $25,600

per year. Her take-home pay after deductions and taxes is, on average, $352 per week. Lisa and

her spouse, Patrick Rowland, are compliant with the HEP.




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        12.       Named Plaintiff Christine Turecek is a member of Local 35. She is a 57-year-old

first cook at Yale. Christine is compliant with the HEP.

        13.       Named Plaintiff Jason Schwartz is a member of Local 35. He is a 46-year-old

locksmith at Yale. Jason is not compliant with the HEP.

        14.       Yale is the Plaintiffs’ employer.

        15.       Founded in 1701, Yale is a private academic institution located in New Haven,

Connecticut. Yale offers an array of undergraduate and graduate degrees and employs over 4,700

faculty members and thousands of staff. In 2018, Yale reported total net assets of $32 billion.

                                             BACKGROUND

I.      Employee Wellness Programs

        16.       Employee wellness programs, also known as employee health programs, health

screening programs, or health promotion programs, are commonplace among large employers

(those employing more than 200 people) that offer health benefits. These programs engage with

many different aspects of employee health care, from questionnaires, to lifestyle coaching, to

smoking cessation classes and programs, to game-ified reward programs for reaching certain

health targets.

        17.       As of 2018, approximately 50% of large employers had deployed employee

wellness programs that include a health risk assessment (“HRA”)—typically an extensive

medical questionnaire—and biometric testing, such as tests of blood pressure, cholesterol, and

blood sugar, for both workers and their spouses.3 In 2018, slightly over one-third (38%) of these

programs included financial penalties for non-participation. Of the 38% of employers penalizing



3
 Kaiser Family Foundation 2018 Employee Benefits Survey, Section 12: Health and Wellness Programs,
https://www.kff.org/report-section/2018-employer-health-benefits-survey-section-12-health-and-wellness-
programs/.

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employees for refusing to complete HRAs and biometric testing, approximately one quarter

included penalties or incentives exceeding a value of $1,000 annually. In sum, as of 2018, fewer

than 5% of all large employers have wellness programs that assess penalties in excess of $1,000

on employees who did not submit to HRAs and medical tests.

       18.     Employee wellness programs are subject to several different legal restrictions,

including design requirements and restrictions under the Patient Protection and Affordable Care

Act (“ACA”), Pub. L. No. 111-148, 124 Stat. 119. To the extent that wellness programs solicit

confidential medical and genetic information, any of the inquiries or examinations must be

“voluntary” under the civil rights laws: the ADA and GINA.

II.    The ADA’s “Voluntary” Requirement for Employee Wellness Programs

       19.     Enacted in 1990, the ADA aims to combat workplace stigma and discrimination

against individuals with disabilities. H.R. Rep. No. 101-485, pt. 2, at 75-76 (describing “blatant

and subtle stigma” in the workplace against persons with disabilities and describing the harm

inherent in disclosure of medical conditions).

       20.     Under the ADA, an employer is prohibited from “requir[ing] a medical

examination” or “mak[ing] inquiries of an employee as to whether such employee is an

individual with a disability or as to the nature or severity of the disability, unless such

examination or inquiry is shown to be job-related and consistent with business necessity.”

42 U.S.C. § 12112(d)(4)(A).

       21.     The ADA, however, permits a narrow exception to this general prohibition

against non-job-related medical examinations and inquiries. Employers may make medical

inquiries and conduct medical examinations as part of an employee wellness program, so long as

those inquiries and examinations are “voluntary.” Id. § 12112(d)(4)(B) (emphasis added). Any



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non-voluntary inquiry or examination is, in itself, an act of discrimination under the ADA.

Id. § 12112(d)(1).

       22.     In 2000, the EEOC promulgated ADA enforcement guidance providing that “[a]

wellness program is ‘voluntary’ as long as an employer neither requires participation nor

penalizes employees who do not participate.” EEOC Enforcement Guidance: Disability-Related

Inquiries and Medical Examinations of Employees under the Americans with Disabilities Act

(ADA), General Principles, Question 22 (July 27, 2000), https://www.eeoc. gov/policy/docs/

guidance-inquiries. html#10 (“2000 ADA Guidance”).

III.   GINA’s “Voluntary” and Nondisclosure Requirements for Employee Wellness
       Programs

       23.     In 2008, Congress enacted GINA to combat workplace discrimination based on

the genetic information of an employee or his or her family members. As Congress emphasized

there is a “compelling public interest in relieving the fear of discrimination and in prohibiting its

actual practice in employment and health insurance.” H.R. Rep. No. 110-28, pt. 3, at 2-3.

       24.     Under GINA, “genetic information” includes both information about an

employee’s genetic tests and those of an employee’s “family members” and information about

“the manifestation of a disease or disorder in family members,” also known as family medical

history. 42 U.S.C. § 2000ff(4).

       25.     To protect employees from discrimination, GINA forbids employers “to request,

require, or purchase genetic information with respect to” an employee or his or her family

members. Id. § 2000ff–1(b). GINA defines “family members” as dependents under the

Employee Retirement Income Security Act of 1974 (“ERISA”), or those related (up to four

degrees) to the employee or dependent. This includes those related through “marriage, birth, or

adoption or placement for adoption.” Thus, GINA protects from disclosure the medical histories


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of employees and their family members, regardless of whether those family members are blood

relatives.

        26.      Like the ADA, GINA has a narrow carve-out for the collection of genetic

information through an employee wellness program. Under GINA, an employer can request

genetic information about an employee or his or her family members when “health or genetic

services are offered by the employer, including such services offered as part of a wellness

program,” but only if “the employee provides prior, knowing, voluntary and written

authorization.” Id. (emphasis added).

        27.      In 2010, the EEOC promulgated regulations implementing GINA. The 2010

GINA Rule forbade employers from exacting any penalties—or applying any incentives—that

are conditioned on providing genetic information. 75 Fed. Reg. at 68,912; 29 C.F.R.

§ 1635.8(b)(2)(i)(A) (2010).

        28.      Thus, the 2010 GINA Rule expressly forbade any penalties/incentives attached to

collecting any statutorily-protected genetic information through an employee wellness program,

including spousal medical history. 29 C.F.R. § 1635.8(b)(2)(i)(A) (2010).

        29.      The GINA regulations also prohibit employers from disclosing genetic

information—regardless of how it is collected—with only very limited exceptions, such as

consent or court order. 29 C.F.R. § 1635.9.

IV.     2016 EEOC Regulations Governing Employee Wellness Programs under the ADA
        and GINA

        30.      In 2016, the EEOC promulgated new regulations governing employee wellness

programs’ compliance with the ADA and GINA (the “2016 Rules”). EEOC, Amendment to

Regulations Under the Americans With Disabilities Act, Proposed Rule, 80 Fed. Reg. 21,659




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(Apr. 20, 2015); EEOC, Genetic Information Nondiscrimination Act of 2008, Proposed Rule, 80

Fed. Reg. 66,853 (Oct. 30, 2015).

       31.     The 2016 Rules set up a comprehensive framework for addressing wellness

program compliance with the ADA and GINA, including protections against using collected

information to discriminate, confidentiality instructions, and an explanation of why the ADA’s

“insurance safe harbor”—a provision excluding underwriting activities from the statute’s

coverage—does not insulate wellness programs from the ADA’s protective ambit entirely.

       32.     One of the most significant features of the 2016 Rules was the redefining of

voluntary participation in an employee wellness program. The EEOC abandoned its longstanding

position and expressly permitted employers to impose financial penalties for non-participation in

a wellness program without rendering the wellness program involuntary.

       33.     Specifically, the 2016 ADA Rule established that exams and inquiries in wellness

programs were “voluntary” so long as the “incentive available under the program . . . does not

exceed . . . thirty percent of the total cost of [individual] coverage.” 29 C.F.R. § 1630.14(d)(3)

(2016). In other words, so long as the financial penalty imposed by the employer did not exceed

30% of the insurance premium an individual would pay, the financial penalty did not render

participation in the program involuntary.

       34.     The EEOC also revised the GINA rules on voluntariness and allowed the

imposition of financial penalties in the context of spousal medical histories. Under the 2016

GINA Rule, employers could penalize employees for refusing to provide spousal medical

histories through HRAs in employee wellness programs without rendering the wellness program

involuntary so long as the penalty did not exceed 30% of the total cost of individual health

coverage. 29 C.F.R. § 1635.8(b)(2)(iii) (providing that an employer “may offer an inducement to



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an employee whose spouse provides information about the spouse’s manifestation of disease or

disorder as part of a health risk assessment”).

V.      Court Vacatur of the Penalty and Incentive Provisions of the 2016 EEOC Rules as
        Arbitrary and Capricious

        35.     In 2017, the U.S. District Court for the District of Columbia vacated the

penalty/incentive provisions of the 2016 Rules as arbitrary and capricious.4 The court held that

the EEOC had not “considered any factors relevant to the financial and economic impact the rule

is likely to have on individuals who will be affected by the rule.” The court specifically noted

that the average 30% penalty—approximately $1,800 per year—“is the equivalent of several

months’ worth of food for the average family, two months of childcare in most states, and

roughly two months’ rent.”5

        36.     On December 20, 2018, consistent with the court’s order, the EEOC withdrew the

“incentive” portions of the 2016 Rules.

        37.     The remaining portions of the 2016 Rules, including the EEOC’s “safe harbor”

interpretation, remain in effect. The statutory “voluntary” provisions and the agency’s prior

guidance and regulations, including the 2000 ADA Rule and the 2010 GINA Rule on

voluntariness, also remain in place.

                                  SUBSTANTIVE ALLEGATIONS

I.      Yale’s Health Expectation Program for Local 34 and Local 35

        38.     On or around January 21, 2017, Yale entered into new collective bargaining

agreements (“CBAs”) with two Yale unions, Local 34 and Local 35. Local 34 represents almost




4
  AARP v. EEOC, 292 F. Supp. 3d 238, 240 (D.D.C. 2017), amending judgment in opinion at 267 F. Supp. 3d 14
(D.D.C. 2017) (emphasis in original).
5
  Id. at 32.

                                                      9
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4,000 clerical and technical workers. Local 35 represents approximately 1,400 cafeteria,

maintenance, and physical plant workers.

       39.     The CBAs provided for the implementation of a new employee wellness program,

the HEP, purportedly designed to “improve the health of Staff Members and spouses covered by

the University’s health plans.”

II.    Mandatory Examinations, Burdensome Health Coaching, and Thorough Reporting
       Required to Comply with the HEP

       40.     Under the terms of the HEP, union members and their spouses must adhere to a

strict schedule of examinations, testing and vaccination that—absent an employer mandate—is

typically planned and carried out by individuals and their doctors. Such procedures and

examinations include mammograms, colonoscopies, and blood testing. The full testing,

examination, and vaccination requirements of the HEP are reproduced in the table below:




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                                                                                                             21,2017, or their
                 The opt-outfee will notapply to bargaining unit employees who have retired prior to January
                                                                                                               to participate In
                 covered spouses. These employees and their spouses will, however, be eligible and encouraged
                 the Program.




                 Health Care Requirem ents



                                                Age21 - 29           30-39              4-0 - 49        50 - 64             65+
                     Healthcare Se1vices
                                                                                                                                   I
                  Primary Care Visit          WITHIN ONE YEAR OFENROLLMENT                  WITIIIN ONE YEAR OF ENROLLMENT
                  with PCP                            (after 1/1/2017)                               (after 1/1/2017)
                                                             ANO                                            ANO
                                                    WITHIN PAST 3 Y6ARS                            WITHIN PAST 2 Y6ARS             I
                  Cltolesterol Screening
                                                                                                                                   I
                                                                                            LIPID PANBL WITHIN PAST 5 YEARS
                  (Lipid)
                  Diabetes Screening                                                FASTING BLOOD GLUCOSE OR HEMOGLOBIN AlC OR
                  (Glucose)                                                         GLUCOSE TOLERANCE TEST WITHIN PAST 5 Y6ARS
                  Breast Cancer Screening                                                                  WITHIN PAST 2 YEARS
                  (Mammogram)
                  Cervical Cancer Screening   WITHIN PAST 3      WITHIN PAST 3 YEARS WITHOUT OOCUM6NTED
                  (PAP Smear)                    YEARS           HPV NEGATIVE STATUS
                                                               • WITHIN PASTS YEARS WITH DOCUMENTED HPV
                                                                 N6GATIVE STATUS
                                                                                                COLONOSCOPYWJTHIN PAST 10
                  Colorectal Cancer
                                                                                                         YEARS
                  Screening
                                                                                                           OR
                                                                                                FIT/FOBTWITHIN PAST 1 YEAR
                  Pneumococcnl Vaccine                                                                      AT LEAST ONCE
                                                                                                             AFTERAGE6S


                                                                                                           a
                  Note: A clinician may recommend additional screening tests and medical interventio ns to
                  patient, not subject to the opt-out fee.



           41.         On information and belief, union members and their spouses had until September

or October, 2018, to complete any medical screenings, procedures, vaccinations, or examinations

required to comply with the HEP. If union members or their spouses had already completed the

required screenings within the timelines listed in the above chart, they could submit a Health

Action Credit Form to receive credit for those health actions.6 Those that failed to undergo the

required health actions or failed to submit a completed Health Action Credit Form by September

or October, 2018, were considered out of compliance with the Program and fined $25 per week

going forward. (See infra Parts IV and V.)




6
    As described in Paragraph 48 infra, the Health Action Credit Form also contains a HIPAA waiver.

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       42.     In addition to burdensome medical examinations, some HEP participants are also

required to consult with a health coach. As discussed in Part III, infra, Yale’s wellness vendors

assign health coaches based on information gleaned from the health insurance claims data of

HEP participants. Yale mandates that employees and/or their spouses work with a health coach if

they have both (1) certain risk variables, such as gaps in care, multiple chronic conditions, co-

morbid conditions, and lab values out of range, and (2) a diagnosis of diabetes, heart disease,

hyperlipidemia, chronic obtrusive pulmonary disease, heart failure, or hypertension.

       43.     On information and belief, employees and their spouses must consult with their

health coach a minimum of three times per year. The health coach asks about the employee’s and

spouse’s physical health (including weight and frequency of exercise) and mental health.

       44.     According to one union member, if the health coach does not get the “right”

answer to his or her questions, they “harass” individuals with information and suggestions. Jean

Paul Hogan, another union member who is a 69-year-old locksmith at Yale, echoed this

frustration with the HEP’s intrusion into his healthcare and medical choices, emphasizing that he

“should be in charge of [his] own heath and certain procedures.” But he and others like him do

not have this control: failure to consult with a health coach when ordered to do so results in non-

compliance with the HEP—and the concomitant fine.

III.   Medical Inquiries, Requests for Genetic Information, and Genetic Information
       Disclosure

       45.     Through the wellness vendors that act as Yale’s agents in administering the

Program, Yale elicits extensive, detailed health information about employees and their spouses

by requesting that they agree to release their insurance claims data.




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         46.      To execute the Program, Yale partners with two outside vendors, HealthMine and

Trestle Tree. HealthMine, which Yale describes as administering the HEP,7 is a privately held

company that reviews data submitted by HEP participants to ensure compliance with the

Program. HealthMine also identifies individuals for health coaching by reviewing individuals’

test results8 and insurance claims data—which include diagnoses codes, among other things—for

what it deems “risk factors,” such as multiple chronic conditions or “lab values out of range.”9

HealthMine represents that it is a business associate of Yale and that it abides by the Health

Insurance Portability and Accountability Act (“HIPAA”); Yale’s HEP portal represents the same.

         47.      On information and belief, if HealthMine determines that an individual needs a

health coach, HealthMine transfers the individual’s insurance claims data—at the direction of

Yale—to Yale’s second vendor partner and agent, Trestle Tree, which then pairs the individual

with a health coach. Trestle Tree is a private company that specializes in providing health

coaching.

         48.      Significantly, Trestle Tree is not an entity covered by HIPAA, meaning that

employees’ information is no longer subject to certain privacy protections once it is migrated to

Trestle Tree. Indeed, when HEP participants submit their Health Action Credit Forms, they must

also consent to the following HIPAA waiver:

                  My PHI [Personal Health Information] may be used or disclosed
                  by Trestle Tree . . . I also understand that the information
                  disclosed under this authorization may no longer be subject to
                  HIPAA privacy rules.




7
  See Yale Position Statement at 4, filed with the Connecticut Commission on Human Rights and Opportunities,
November 12, 2018.
8
  See id. at Exhibit C (“The health risk profile of participants opting into the HEP program will be evaluated by a
mutually agreed third party (HIPAA compliant). The evaluation will be based on the outcomes of healthcare
screenings and claim data.”).
9
  See id. at 4.

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        49.      On information and belief, HealthMine accesses and transfers employees’ and

their spouses’ insurance claims data to Trestle Tree even when employees do not participate or

refuse to sign the HIPAA waiver. For example, David Cameron, a 56-year-old control mechanic

at Yale’s central power plant, refused to sign the form disclosure waiving his HIPAA rights.

Therefore, any information from his test results or his insurance claims should not have been

migrated to HealthMine or Trestle Tree. However, after enrolling in the HEP, he was assigned a

health coach for high cholesterol and contacted by Trestle Tree. He does not know how Trestle

Tree received his information given that he did not sign the document waiving his HIPAA rights

or otherwise authorize the transfer of his information, but he previously filled prescriptions for

high blood pressure medication, and he believes that information was migrated through claims

data to Trestle Tree without his consent.

        50.      The claims migration process reveals and jeopardizes the privacy of sensitive

information about employees’ and their spouses’ medical histories, including the manifestation

of a disease or disorder—information protected under the ADA and GINA.

IV.     The Cost of Noncompliance: Heavy Fines

        51.       Members of Local 34 and Local 35 who either do not participate in the HEP or

fail to comply with its stringent requirements pay a high price. Yale levies a $25 “weekly fee” on

union members who are not participating or are otherwise not compliant with the HEP. The fine

amounts to $1,300 per year and is subject to “increases in subsequent years.”10




10
   In its position statement filed with the Connecticut Commission on Human Rights and Opportunities, Yale
represented that it “provides a reward of $25 per week” to “encourage Union members to participate in HEP.” Id.
at 2. However, no union members have reported receiving such a reward and the reward is not referenced in any of
the HEP materials provided to union members.

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           52.      Yale has repeatedly contacted union members about the fine via mail and email,

encouraging them to subject themselves to mandatory medical testing “before the HEP due date

to avoid the $25 weekly fee.” Such contacts have included the following:

           Our records indicate that you still have health actions outstanding. Please
           check your portal to see which actions are due and, if you haven't done so
           already, please contact your health professional to schedule these services
           as soon as possible.

           What should I do next?
            Please log into the HEP portal or call 844-253-1785 to confirm what you
            must do.

           Take action before the HEP due date to avoid the $25
           weekly fee.

           53.      The weekly fine is a high price to pay for privacy and protection from

discrimination. It has real life consequences for those members of the Class who do not want to

disclose sensitive medical information or subject themselves and their spouses to intrusive

medical examinations and testing at their employer’s behest. Indeed, for members of Local 34

and 35, whose base pay can be as low as $16.92 per hour for full-time employees, the fine

infringes on their ability to pay for basic necessities such as food, housing, and utilities.

           54.      For example, according to the Economic Policy Institute, the average monthly

cost of housing in New Haven, Connecticut is $1,482 per month. Thus, over the course of a year,

the $25 per week fine adds up to nearly one full month of housing costs for a resident of New

Haven.11




11
     Economic Policy Institute, Family Budget Fact Sheets, https://www.epi.org/resources/budget/budget-factsheets/#.

                                                          15
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        55.      Additionally, the Economic Policy Institute further reports that the average

monthly cost of food in New Haven is $951 per month, meaning that over the course of a year,

the $25 per week fine is nearly five and a half weeks’ worth of food for a resident of New

Haven.12

        56.      The Economic Policy Institute calculates the average cost of childcare to be

approximately $1,372 per month in New Haven. Over the course of a year, the $25 per week fine

is equivalent to nearly an entire month’s worth of childcare.13

        57.      According the Bureau of Labor Statistics, the average American spends $329 per

month on utilities. Over the course of a year, the $25 per week fine amounts to almost four

months’ worth of utilities for the average American.14

        58.      The Bureau of Labor Statistics also reports that the average American spends

approximately $171 dollars a month on gas. The $25 per week fine consumes 58% of the

average American’s monthly gas budget.15

        59.      The impact of the $25 per week fine is not just theoretical. Members of Local 34

and 35 have felt the impact of the fine, with some adjusting their budgets as a result.

        60.       Jason Schwartz is a 46-year-old locksmith at Yale and a member of Local 35

who did not want to participate in the HEP because of privacy concerns and because he does not

want to be “forced” to go to the doctor “under threat of financial penalty.” Jason described the

$25 per week fine as “highway robbery.” Jason explained that Yale is “forcing” union members

to do “something they don’t want to do” and “financially penalizing them if [they] don’t do it.”

Jason, who has been charged the $25 per week fine since at least the beginning of 2019,


12
   Id.
13
   Id.
14
   Bureau of Labor Statistics, Table 1400, https://www.bls.gov/cex/22018/midyear/cusize.pdf.
15
   Id.

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explained “I have financial responsibilities” and there are “a million other things I would rather

spend [the] money on,” such as an account for emergency health care costs.

       61.     Ralph Marguy, a 41-year-old fire inspector at Yale and member of Local 35, is

currently in compliance with the HEP but was charged the $25 per week fine for approximately

10 weeks because his wife was not signed up for the Program. He felt a direct impact to his

budget as a result. “I have two kids in daycare,” he remarked. “25 dollars was like a million.” His

wife is now participating, so he is compliant with the Program, but he has privacy concerns. He

would prefer not to participate, but he “can’t throw away $25 to keep my information private.” “I

feel like I had no option,” he said.

       62.     Bill Cross, a 65-year-old fire inspector at Yale and member of Local 35, is not

participating in the Program and has been charged the $25 per week fine since at least February

of 2019. He decided not to participate because of concerns that his prior medical history, which

he prefers to keep private, will be revealed to Yale. “It’s not really my choice and it’s costing me

$25 per week.”

       63.     Bill Krom, a 51-year-old general building maintenance employee and member of

Local 35, is not participating because “he didn’t want to be told what to do” by his employer and

because he has privacy concerns. His wife is also not participating. As a result, Bill is being

charged $25 per week, which is interfering with his other financial obligations, including a new

roof and driveway and his mortgage payments.

       64.     Another member of Local 35 who makes approximately $49,920 per year, is not

participating in the HEP because he “really didn’t think [Yale] had the right to tell me who to

talk to and when.” He also does not want a colonoscopy. “I’m a little scared of that, to be

honest,” he explained. Because he is not participating, he has been losing $25 per week from his



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paycheck. “In my world, that’s a lot of money.” He has made specific adjustments to his budget

to accommodate for his reduced income: “[w]e eat less, to be honest. I can’t just go down the

grocery aisle,” he explained.

V.     The Cost of Compliance: Loss of Civil Rights Protection Due to Financial Coercion

       65.     The $25 per week fine imposes a significant burden on certain members of the

Class; so much so that paying the $25 per week fine is not a viable option. These members of

Local 34 and Local 35 are forced to disclose sensitive medical information and undergo invasive

testing to avoid the weekly fine.

       66.     Christine Turecek, a 57-year-old first cook and a member of Local 35, explained

that she is participating in the HEP because she is a single mother who is paying for her child’s

college and the $25 per week fine is “the cost of my kid’s books for an entire semester.” To her,

paying the $25 per week fine would be a “needless expense,” particularly when she has other

financial pressures such as saving for retirement. Christine said she feels “forced” to participate

in the HEP because her definition of “voluntary is not paying.”

       67.     Christine’s experience with the Program has been burdensome and emotionally

fraught. The HEP requires female participants over age 40 to undergo a mammogram. Christine

previously underwent a double mastectomy when battling cancer and therefore could not comply

with the HEP requirement to have a mammogram. As a result, an HEP representative contacted

her “several times,” asked about her mammogram results, and told her she would be held in non-

compliance and charged the $25 per week fine if she did not get one. Christine had to repeatedly

explain that she had a mastectomy. Christine described these conversations as “too invasive” and

emotionally draining given that she had to repeatedly revisit her experience with cancer.




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       68.     Another member of Local 35 who is a cook’s helper at Yale and makes

approximately $37,000 annually explained that she is participating in the HEP because of the

impact the $25 per week fine would have on her finances. She has other financial obligations that

are more pressing. For example, she provides some financial support for her son who lives at

home and has cerebral palsy. As a single person, she explained the $25 per week fine would “be

noticeable, no doubt about it.” She explained she would have to reduce her grocery bill or a

similar expenditure if she was incurring the $25 per week fine. For her, it’s a “tank of gas.” As a

result of her participation in the HEP, she has undergone a colonoscopy, a mammogram, a

tuberculosis screening, and a cholesterol screening. She said she has spent “countless hours”

with doctor’s visits and phone calls as a result of her participation. She even had to use her sick

time to take a day off for a colonoscopy.

       69.     Jim Limosani, a 49-year-old locksmith at Yale, echoed his fellow Local 35

members. He is participating in the Program “because I don’t want to pay the $25 a week.

That’s an expensive proposition right there.”

       70.      Lisa Kwesell, a member of Local 34, is participating in the Program to avoid the

$25 per week fee. Her take-home paycheck after deductions is approximately $352 a week, on

average. Lisa explained: “[Yale] want[s] me to eat healthy, [but] I couldn’t afford to buy good

produce or good meat” if the $25 week fine applied to her. “Another $1,300 out of my paycheck

would really hurt me.”

       71.      Another member of Local 34 is participating in the Program because of the

“simple fact that Yale is going to start going into [her] check” if she does not. “I work hard for

my money” and “I’m on a fixed budget.” “There is no way in the world that they are going to

take $25 per week out of a 30 hour check.” She makes approximately $37,400 per year, and the



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$25 per week fee would impose a significant burden on her. Although she is participating in the

Program, she recently missed a scheduled mammogram appointment because of a sudden death

in her family. She promptly rescheduled the mammogram, but had to wait approximately two

months before she could be seen. Yale immediately started sending her notices that it would start

deducting $25 per week from her paycheck due to the missed mammogram. She said she feels

like Yale is “attacking [her] about a mammogram.”

VI.     The Yale Police Benevolent Association Implements Voluntary Health Expectations
        Program

        72.      While Yale forces Class members to either participate in the HEP or pay a hefty

privacy fine, members of the Yale Police Benevolent Association (“YPBA”) are not fined for

non-participation. The YPBA is the union that represents the members of the Yale Police

Department.

        73.      When Yale raised the specter of including a fine for non-participation in the HEP

during bargaining negotiations with YPBA, negotiations stalled. According to the Yale Daily

News, YPBA balked at the inclusion of a HEP with a $25 per week non-participation fine, noting

that “HEP’s top-down approach and opt-out fee constitute a massive change that YPBA

members were not anticipating, adding that union members were ‘very upset’ when they found

out about the new policy.”16

        74.      Eventually, Yale and the YPBA reached an agreement that did not require YPBA

members to pay a fine for non-participation in the HEP. As explained in the New Haven

Independent, a member of the YPBA “praised [union] leadership for resisting Yale’s demand

that, like members of Yale’s UNITE HERE unions, the cops participate in a Health Expectations


16
  Amy Cheng, YPD union contract stalls over health benefits, Yale Daily News (2017),
https://yaledailynews.com/blog/2017/09/22/ypd-union-contract-stalls-over-health-benefits/.


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Program (HEP) that requires mandatory medical tests as well as coaching for those with chronic

conditions.”17

        75.      Yale acknowledges that the HEP is “voluntary” for YPBA members precisely

because no fee is required. In a flyer describing the HEP, Yale expressly contrasts the $25 fine

for UNITE HERE members with “voluntary” participation for YBPA members:

         IfYou Choose Not to Participate
         You may choose to opt out of the Health Expectations Program on a quarterly basis. By opting out, you
         agree to pay the $25 fee per week. The opt outfee wi ll be payroll deducted on a weekly basis.

        Any participant who opts out of HEP may opt back in on a quarterly basis.
        YPBAStaff
         The HEP program i s ~ f o r YPBA staff and their covered spouses - no opt out fees w ill app ly for non-
         participation or non-compliance.



                      EXHAUSTION OF ADMINISTRATIVE REMEDIES

        76.      Lisa Kwesell filed a timely, class-based Charge of Discrimination with the EEOC

and the Connecticut Commission on Human Rights & Opportunities on September 10, 2018,

alleging that the HEP violates the ADA and GINA.

        77.      The Connecticut Commission on Human Rights & Opportunities issued a Release

of Jurisdiction that Lisa received on April 26, 2019, and the EEOC issued a Right-to-Sue letter

that Lisa received on May 28, 2019.

        78.      By filing this federal action within 90 days of Lisa receiving the Connecticut

Commission on Human Rights & Opportunities Release of Jurisdiction, Plaintiffs have satisfied

all administrative prerequisites under the ADA and GINA.




17
  Allan Appel, Yale Police Union Ratifies 7-Year Contract, New Haven Independent (2018),
https://www.newhavenindependent.org/index.php/archives/entry/yale_police_union_ratifies_contract/.

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                               CLASS ACTION ALLEGATIONS

       79.     Plaintiffs bring this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a), 23(b)(2), and 23(b)(3) on behalf of all current and former Yale employees who

are or were required to participate in the HEP or pay a $25 weekly fine between January 1, 2017,

and present, including a sub-class of these employees whose spouses are or were required to

participate in the HEP or pay the same fine during that time period. Plaintiffs seek declaratory

and injunctive relief, lost wages, and non-economic damages.

       80.     Certification under Rule 23(b)(2) is appropriate because Yale has acted or refused

to act on grounds that apply generally to the class and final injunctive or declaratory relief is

appropriate respecting the class as a whole. The policy that class members either adhere to the

HEP or pay a $25 per week fine is uniform, thereby making declaratory and injunctive relief

appropriate to the Class as a whole.

       81.     Certification under Rule 23(b)(3) is appropriate because Plaintiffs seek monetary

damages on behalf of class members and because common questions of law and fact

predominate over individualized inquiries and a class action is a superior method for

adjudication, as discussed further below. The HEP policy was uniformly applied to all class

members.

I.     Numerosity

       82.     The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of class members is presently unknown, Plaintiff

estimates that there are as many as 5,400 class members. The exact number of class members can

only be ascertained through appropriate discovery.




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II.    Commonality

       83.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual class members. Among the questions

of law and fact common to the Class are:

                    a) whether Yale’s acts as alleged herein violate the ADA;

                    b) whether Yale’s acts as alleged herein violate GINA;

                    c) whether the medical examinations and inquiries and requests for genetic

                       information in Yale’s HEP are voluntary, as required by the ADA and

                       GINA;

                    d) whether the disclosure of genetic information as alleged herein violates

                       GINA;

                    e) the nature and extent of the class-wide injury and the appropriate measure

                       of damages for the Class; and

                    f) whether declaratory/injunctive relief is warranted.

       84.     Plaintiffs’ claims arise from the same HEP policy and course of conduct on the

part of Yale, and Plaintiffs’ claims are based on the same legal and remedial theories as those of

the proposed Class and involve similar factual circumstances. Further, the injuries suffered by

Plaintiffs are similar to the injuries suffered by class members, and Plaintiffs seek common

forms of relief for themselves and members of the Class, including injunctive and declaratory

relief, lost wages, and non-economic damages.

III.   Typicality

       85.     Plaintiffs’ claims are typical of the claims of the members of the Class because all

members of the Class are similarly affected by Yale’s alleged violation of the ADA and GINA


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complained of herein. Plaintiffs are affected by Yale’s alleged violation of the ADA and GINA

in the same manner as other class members. Their right to voluntarily participate in the HEP has

been denied by Yale’s imposition of a financial penalty for non-participation. And, as a result,

class members have incurred lost wages for non-participation and non-economic damages

whether they participate in the HEP against their will or refuse to participate in the HEP’s

unlawful and discriminatory program requirements.

IV.    Adequacy

       86.     Plaintiffs will fairly and adequately protect the interests of class members and

have retained counsel competent and experienced in class action litigation and the claims

asserted herein.

V.     Predominance

       87.     Common questions of law and fact predominate over any questions affecting only

individual members of the Class. Specifically, questions concerning whether Yale violated the

ADA and the GINA predominate over any individualized questions.

VI.    Superiority

       88.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable and individual

class members may lack the financial resources to vigorously prosecute this action. Class

treatment will obviate the need for unduly duplicative litigation that might result in inconsistent

judgments.




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                                      CAUSES OF ACTION

 COUNT I – VIOLATION OF THE ADA AS TO PLAINTIFFS KWESELL, TURECEK,
                           AND SCHWARTZ

       89.     Plaintiffs Kwesell, Turecek, and Schwartz incorporate by reference all preceding

allegations in this Complaint as if fully pled in this Count.

       90.     Yale is a covered entity under 42 U.S.C. § 12111(2) and § 12111(5)(A) because it

is an employer engaged in an industry affecting commerce with 15 or more employees.

       91.     Yale requires medical examinations and makes inquiries of employees in

violation of 42 U.S.C. § 12112(d)(4)(A) and (B) because the medical examinations required

under the HEP are not “voluntary” components of an employee wellness program.

       92.     The testing required under Yale’s HEP includes medical examinations within the

meaning of the ADA because the required testing is administered by a health care professional or

in a medical setting and seeks information about an individual’s physical or mental impairment

or health. The testing requires blood draws and cholesterol testing.

       93.     The HEP’s questions and requests for insurance claims data from insurance

providers are medical inquiries within the meaning of the ADA because they are likely to elicit

information about a disability.

       94.     Yale imposes a $25 per week fine on those who do not submit to medical

inquiries and examinations.

                   COUNT II – VIOLATION OF THE ADA AS TO THE CLASS

       95.     Plaintiffs incorporate by reference all preceding allegations in this Complaint as if

fully pled in this Count.

       96.     Yale is a covered entity under 42 U.S.C. § 12111(2) and § 12111(5)(A) because it

is an employer engaged in an industry affecting commerce with 15 or more employees.


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       97.     Yale’s HEP requires a medical examination and makes inquiries of employees in

violation of 42 U.S.C. § 12112(d)(4)(A) and (B) because the medical examinations and medical

histories involved in the HEP are not “voluntary” components of an employee wellness program.

       98.     The testing required under Yale’s HEP is a medical examination within the

meaning of the ADA because the testing is administered by a health care professional or in a

medical setting and seeks information about an individual’s physical or mental impairment or

health. The testing requires blood draws, and cholesterol testing.

       99.     The HEP’s questions and requests for insurance claims data from insurance

providers are medical inquiries within the meaning of the ADA because they are likely to elicit

information about a disability.

       100.    Yale imposes a $25 per week fine on those who do not submit to medical

inquiries and examinations.

               COUNT III - VIOLATION OF GINA AS TO PLAINTIFF KWESELL

       101.     Plaintiff Lisa Kwesell incorporates by reference all preceding allegations in this

Complaint as if fully pled in this Count.

       102.    Yale’s HEP violates GINA, 42 U.S.C. § 2000ff-1(b), because Yale is an employer

requesting, requiring, or purchasing genetic information with respect to an employee or family

member of the employee without voluntary authorization from the employee.

       103.    GINA defines “family members” as dependents under ERISA, or those related

(up to four degrees) to the employee or dependent. ERISA permits individuals to claim

dependents “through marriage, birth, adoption, or placement for adoption.” This includes

spouses. Thus, medical information relating to manifested conditions of spouses is the




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employee’s family medical history, which is genetic information under GINA. 29 C.F.R.

§ 1635.3(a)(1).

        104.    The HEP’s testing requirement for spouses, which includes Yale’s agents’

obtaining test results to analyze them for risk factors, is a request for genetic information because

it elicits information about the manifestation of a disease or disorder in the employees’ family

members.

        105.    The HEP’s transfers of insurance claims data from insurance providers through

Yale’s agents are requests for genetic information because they elicit information about the

manifestation of a disease or disorder in the employees’ family members.

        106.    Yale’s transfer, through its agents, of insurance claims data about employees’

spouses from insurance providers to wellness vendors and from HealthMine to Trestle Tree are

unlawful disclosures of genetic information under 29 U.S.C. § 1635.9.

        107.    In connection with the HEP, Yale unlawfully disclosed Plaintiff Kwesell’s

spouse’s genetic information. 29 C.F.R. § 1635.9.

        108.    Yale imposes a $25 weekly fine on those who do not submit to the acquisition of

genetic information.

                COUNT IV - VIOLATION OF GINA AS TO THE GINA SUBCLASS

        109.      Plaintiffs incorporate by reference all preceding allegations in this Complaint as

if fully pled in this Count.

        110.    Yale’s HEP violates GINA, 42 U.S.C. § 2000ff-1(b), because Yale is an employer

requesting, requiring, or purchasing genetic information with respect to an employee or family

member of the employee without voluntary authorization from the employee.




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       111.    GINA defines “family members” as dependents under ERISA, or those related

(up to four degrees) to the employee or dependent. ERISA permits individuals to claim

dependents “through marriage, birth, adoption, or placement for adoption.” This includes

spouses. Thus, medical information relating to manifested conditions of spouses is the

employee’s family medical history, which is genetic information under GINA. 29 C.F.R.

§ 1635.3(a)(1).

       112.       The HEP’s testing requirement for spouses, which includes Yale’s agents’

obtaining test results to analyze them for risk factors, is a request for genetic information because

it elicits information about the manifestation of a disease or disorder in the employees’ family

members.

       113.    The HEP’s transfer of insurance claims data from insurance providers are requests

for genetic information because they elicit information about the manifestation of a disease or

disorder in the employee’s family member.

       114.    Yale’s transfer of insurance claims data about employees’ spouses from insurance

providers to wellness vendors and from HealthMine to Trestle Tree are unlawful disclosures of

genetic information under 29 U.S.C. § 1635.9.

       115.    In connection with the HEP, Yale unlawfully discloses class members’ genetic

information. 29 C.F.R. § 1635.9.

       116.    Yale imposes a $25 weekly fine on those who do not provide genetic information.

                                    PRAYER FOR RELIEF

       117.    WHEREFORE, Plaintiffs, individually and on behalf of the Class, respectfully

request that the Court:




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       a) certify this case as a class action pursuant to Rule 23 of the Federal Rules

          of Civil Procedure;

       b) designate Lisa Kwesell, Christine Turecek, and Jason Schwartz as the

          representatives of the Rule 23 Class and the undersigned counsel as

          counsel for the Class;

       c) declare Yale’s conduct to be in violation of the ADA and GINA;

       d) enter an injunction prohibiting Yale from continuing to impose a $25 per

          week fine on those who do not submit to the medical examinations

          required under the HEP;

       e) enter an injunction prohibiting Yale from causing employees’ and their

          spouses’ insurance claims data to be transferred to HealthMine, Trestle

          Tree, or any third-party vendor without employees’ and spouses’ consent,

          which must not be obtained under threat of a monetary or other penalty;

       f) enter an injunction designed to protect and monitor class members’

          privacy in the context of the HEP, including but not limited to purging

          medical and genetic information previously collected through the HEP;

       g) award economic and non-economic damages;

       h) award expenses, including reasonable attorney’s fees; and

       i) grant such other and further relief as the Court deems just and proper.




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                          JURY TRIAL DEMANDED

118.   Plaintiffs demand a trial by jury.

                                                 RESPECTFULLY SUBMITTED,
                                                 THE PLAINTIFFS

                                      by:        GARRISON, LEVIN-EPSTEIN,
                                                 FITZGERALD & PIRROTTI, P. C.

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